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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  Joel Vangheluwe and Jerome
  Vangheluwe,
                  Plaintiffs,
        v.
  GotNews, LLC, Freedom Daily,
  LLC, Charles C. Johnson, Alberto             Case No. : 2:18-cv-10542-LJM-EAS
  Waisman, Jeffrey Rainforth, Jim
  Hoft, David Petersen, Jonathan Spiel,        Hon. Laurie J. Michelson
  Shirley Husar, Eduardo Doitteau,
  Lita Coulthart-Villanueva, Kenneth           Mag. Elizabeth A. Stafford
  Strawn, Patrick Lehnhoff, Beth
  Eyestone, Lori Twohy, Raechel
  Hitchye, James Christopher Hastey,
  Christopher Jones, Connie Comeaux,
  Gavin McInnes, Richard Weikart,
  and Paul Nehlen,
                  Defendants.




  PLAINTIFFS’ RESPONSE TO DEFENDANT’S OFFER OF JUDGMENT

       COMES NOW Plaintiff Joel Vangheluwe, who in response to the Offer of

 Judgment previously filed by Defendant Kenneth Strawn, hereby formally rejects

 Defendant’s Offer of Judgment of a “letter of retraction to the Plaintiff.” [Doc. 100].

       Federal Rule of Civil Procedure 68 provides that, “At least 14 days before the

 date set for trial, a party defending against a claim may serve on an opposing party

 an offer to allow judgment on specified terms, with the costs then accrued.” Fed. R.


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 Civ. P. 68(a). The offer of judgment proposed by Defendant Strawn includes neither

 the required specified terms, nor the costs accrued. Additionally, the Rule provides

 that, “If the judgment that the offeree finally obtains is not more favorable than the

 unaccepted offer, the offeree must pay the costs incurred after the offer was made.”

 Fed. R. Civ. P. 68(d). Plaintiff foresees no scenario in which he could receive a

 judgment less than zero dollars.

       For these reasons, Plaintiff Joel Vangheluwe formally rejects Defendant

 Strawn’s offer of judgment.




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                                          Respectfully submitted,

                                          SOMMERMAN, McCAFFITY,
                                          QUESADA & GEISLER, L.L.P.

                                          _/s/_Andrew B. Sommerman_______
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 Dated: March 15, 2019                    rbadalamenti@khlblaw.com




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                         CERTIFICATE OF SERVICE
       The undersigned certifies that on March 15, 2019, the foregoing Request was
 served via ECF on counsel of record for defendants who have appeared in this case,
 as well as to the following ProSe Defendants via First Class Mail:
 Lita Coulthart-Villanueva
       Jeffries St.
 Anderson, CA

 Jeffrey Rainforth
       H St., Apt.
 Sacramento, CA


                                             /s/_Andrew B. Sommerman_______




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